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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION


                                              *
UNITED STATES OF AMERICA                      *
                                              *
                                              *
VS.                                           *
                                              *               NO: 4:07CR00163 SWW
                                              *
JACK RONDLE PIPKIN                            *
                                              *




                                             ORDER

        Before the Court is Jack Rondle Pipkin’s motion, pursuant to Rule 41(g) of the Federal

Rules of Criminal Procedure, seeking the return of property, specifically the contents of his

vehicle, seized from his possession on September 8, 2004. The time for responding has passed,

and the Government has not filed a response. The motion (docket entry #152) is GRANTED.

The Government is directed to return said property to Pipkin within 15 days from the entry date

of this order.

        IT IS SO ORDERED THIS 10th DAY OF JUNE, 2008.


                                             /s/Susan Webber Wright

                                             UNITED STATES DISTRICT JUDGE
